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                                 UNITED STATES DISTRICT COURT

                                 SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:20-cv-60432-SINGHAL




   JASON       NUWER,          MARK        MINKOWITZ,
   AMARILLIS GINORIS, CHRISTINA VIGOA,
   and KEVIN VAN ALLEN on
   behalf of themselves and all others similarly
   situated,


           Plaintiffs,


   v.


   FCA US LLC f/k/a/ CHRYSLER GROUP LLC, a
   Delaware       limited     liability   company,   and
   GRAMMER INDUSTRIES, INC. a South Carolina
   corporation,


           Defendants.




                            FCA US LLC’S RESPONSE IN OPPOSITION TO
                     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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          Defendant FCA US LLC (“FCA US”) hereby opposes the Motion for Class Certification
   filed by Plaintiffs Jason Nuwer, Kevin Van Allen, and Amarillis Ginoris.
 I.   INTRODUCTION
          Plaintiffs allege that 16 million Active Head Restraints (“AHRs”) installed in eleven
   models of FCA US-produced vehicles are defective. An AHR is a headrest that clicks forward
   approximately two inches in a rear-impact collision to reduce whiplash injuries by providing better
  support for the head and neck than if the headrest remained in the more comfortable undeployed
  position. Plaintiffs allege the AHRs are defectively designed because FCA US used an
  insufficiently robust plastic in the AHR system. Pls.’ Motion, at 1. They claim that every AHR is
  defective because its internal plastics will eventually crack and cause inadvertent deployment. Id.
  An image of an AHR is below:




          This case is the third putative class action regarding the AHRs in FCA US vehicles, but it
  is the first to allege that the plastic in the AHR is defective in its unaltered, uncontaminated state.
  Plaintiffs’ counsel concocted this new “design defect” theory in an attempt to certify a class.




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                                                                              .
          Class certification is not appropriate for several reasons. First, the named plaintiffs lack
   Article III standing to assert many of their proposed claims. The proposed nationwide class
   encompasses eleven vehicles with model years from 2010-2018, but the named plaintiffs bought
   or leased only two of those vehicles in two states: the 2013 Dodge Journey (Florida) and the 2018
   Jeep Grand Cherokee (New York and Florida). Plaintiffs lack standing to assert claims on behalf
   of people who purchased different vehicles than the one they did. They also lack standing to assert
   claims under the laws of a state that does not apply to their claims.




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                                                                                                   ,




           Nor can Plaintiffs meet the typicality, adequacy, or superiority requirements of Rule 23.
    For these and other reasons, the Court should deny Plaintiffs’ motion.
 II.   FACTS




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              H. The Proposed Class Representatives and Their Claims.
          There are three named plaintiffs in this litigation, each of whom serves as a class
   representative. 1 Plaintiffs’ definition of Class Vehicles encompasses the following vehicles:
              1. 2010-2018 Dodge Journey;
              2. 2010-2011 Dodge Nitro;
              3. 2010-2012 Jeep Liberty
              4. 2010-2017 Jeep Patriot/Compass
              5. 2010-2012 Dodge Caliber;
              6. 2010-2018 Dodge Caravan;
              7. 2011-2018 Dodge Ram C/V
              8. 2011-2018 Dodge Durango;
              9. 2011-2018 Jeep Grand Cherokee;
              10. 2010-2014 Chrysler Sebring/Avenger;
              11. 2011-2018 Chrysler Town & Country.
   ECF No. 10, Amend. Compl., ¶16 (“Subject Vehicles”). Plaintiffs have owned or leased exactly
   two of the 72 makes/model years: the 2013 Dodge Journey and the 2018 Jeep Grand Cherokee.
   Plaintiffs assert unjust enrichment claims under the laws of their states (New York and Florida), 2
   assert claims under the consumer protection laws of their states, seek to represent a nationwide
   class on an unjust enrichment claim—which is not tethered to any particular state’s laws—and
   seek to represent a nationwide class on a Magnuson-Moss Warranty Act claim.
                          i. Plaintiff Amarillis Ginoris




   1
     Plaintiffs Christina Vigoas and Mark Minkowitzs were dismissed from this action by stipulation
   of the parties on December 27, 2021. ECF No. 74.
   2
     NY: GBL § 350; FL: Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat.
   § 501.201 et seq.
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                    ii. Plaintiff Jason Nuwer




                    iii. Plaintiff Van Allen




III.   ARGUMENT
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           “All else being equal, the presumption is against class certification because class actions
   are an exception to our constitutional tradition of individual litigation.” Brown v. Electrolux Home
   Prods., 817 F. 3d 1225, 1233 (11th Cir. 2016). To overcome this presumption, “the named
   plaintiffs must have standing and the putative classes must satisfy an implicit ascertainability
   requirement, the four requirements listed in Rule 23(a), and at least one of the requirements listed
   in Rule 23(b).” Ohio State Troopers Ass’n v. Point Blank Enters., 481 F. Supp. 3d 1258, 1270
   (S.D. Fl. 2020). Here, Plaintiffs seek certification under Rule 23(b), and thus must prove that the
   proposed classes satisfy the commonality, predominance, typicality, adequacy and superiority
   requirements. As the Eleventh Circuit has emphasized, Plaintiffs must “affirmatively demonstrate”
   compliance with Rule 23 “by proving that the requirements are ‘in fact’ satisfied, which requires
   a ‘rigorous analysis.’” Brown, 817 F. 3d at 1234. “[I]f doubts remain about whether the standard
   is satisfied, ‘the party with the burden of proof loses.’” Id. at 1233.
               A. PLAINTIFFS LACK STANDING TO REPRESENT THE PROPOSED
                   CLASS.
           Any analysis of class certification begins with the issue of standing. Ohio State Troopers,
   481 F. Supp. 3d at 1271. Plaintiffs have Article III standing only if they “(1) suffered an injury in
   fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to
   be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).
   “[S]tanding is not dispensed in gross.” Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996). It is claim-
   specific, not case-specific. “[A] plaintiff must demonstrate standing for each claim he seeks to
   press.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (emphasis added). Plaintiffs
   have the burden of proving their standing. OSI, Inc. v. U.S., 285 F.3d 947, 951 (11th Cir. 2002).
   They fail to meet that burden for two main reasons.
                           i. Plaintiffs Cannot Raise Claims For Products They Did Not
                               Purchase or Lease.

           “[T]he consensus of authority in the Eleventh Circuit [is] that a named plaintiff in a
   consumer class action cannot raise claims relating to products that he or she did not purchase.” In
   re Takata Airbag Prods. Liab. Litig., 396 F. Supp. 3d 1101, 1125-26 (S.D. Fla. 2019); see also
   Garcia v. Kashi Co., 43 F. Supp. 3d 1359, 1394 (S.D. Fla. 2014) (similar). This rules makes sense.
   If no named plaintiff bought a particular product, then no class representative suffered an injury
   “fairly traceable” to that product. Spokeo, 578 U.S. at 338. A plaintiff “cannot establish his Article

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                            ii. Plaintiffs Cannot Assert Claims Under The Laws Of States Other
                                Than Their Own.

             Plaintiffs also lack standing to assert claims based on state laws other than Florida and New
   York. “[N]amed plaintiffs in class actions have, time and again, been prohibited from asserting
   claims under a state law other than that which the plaintiff’s own claim arises.” Lewis v. Mercedes-
   Benz United States, 530 F. Supp. 3d 1183, 1205 (S.D. Fla. Mar. 30, 2021) (quotation marks
   omitted); see also In re: Takata, 2016 WL 1266609 at *4 (“A named plaintiff lacks standing to
   assert legal claims on behalf of a putative class pursuant to state law under which the named
   plaintiff’s own claims do not arise.”). Therefore, Plaintiffs lack standing to pursue their national
   unjust enrichment claim and national Magnuson-Moss claim.
             This Court’s decision in Simmons v. Ford Motor Co. is instructive. There, as here, plaintiffs
   in a putative class action sought certification of a “multi-state class for unjust enrichment.”
   Simmons, 2022 U.S. Dist. LEXIS 49975, at *26. The Simmons court denied certification of the
   multi-state unjust enrichment claim, reasoning that “while Plaintiffs’ Complaint ‘lists one generic
   general unjust enrichment claim, that claim is, in reality, [five] unjust enrichment claims—one for
   each state [represented]. Such a claim would thus need to be brought on behalf of [five] state
   subclasses.’ … Accordingly, further subclass division by state regarding Plaintiffs’ unjust
   enrichment claims would be required to establish standing.” Id. (internal citations omitted).
             The same reasoning holds here. Plaintiffs’ nationwide unjust enrichment claim is really
   49 unjust enrichment claims, 3 and Plaintiffs lack standing to bring such claims for states other than
   Florida and New York. See, e.g., In re Checking Account Overdraft Litig., 694 F. Supp. 2d 1302,
   1324-25 (S.D. Fla. 2010) (holding “Plaintiffs may only assert a state statutory claim if a named
   plaintiff resides in that state,” assuming the law of the state of residence would apply). This is true
   of Plaintiffs’ national Magnsuon-Moss claim, too. Because plaintiffs only assert breach of implied


   3
       Plaintiffs’ nationwide class excludes California.
                                                      11
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   warranty claims under the laws of Florida and New York, and “lack standing to represent putative
   class members of states for which there are no breach of implied warranty claims”, “Plaintiffs
   cannot state a nationwide-class claim under the Magnuson-Moss Warranty Act.” Puhalla v.
   Mercedes-Benz USA, LLC (In re Takata Airbag Prods. Liab. Litig.), 462 F. Supp. 3d 1304, 1335
   (S.D. Fla. 2020).
              B. PLAINTIFFS HAVE NOT MET THE STATUTORY REQUIREMENTS TO
                  CERTIFY A MAGNUSON-MOSS CLASS
          The Magnsuon-Moss Warranty Act (the “MMWA”) has strict prerequisites for class
   certification. Here, Plaintiffs fail to meet their statutory burden, and therefore no Magnuson-Moss
   class can be certified. Section 2310(d)(3)(C) of the MMWA prohibits class actions “if the number
   of named plaintiffs is less than one hundred.” “A trial court may certify a Magnuson-Moss class
   action only if there are, at the time of certification, at least 100 named plaintiffs left in the case.”
   Carlson v. General Motors Corp., 883 F.2d 287, 289 n. 3 (4th Cir. 1989); see also, e.g., Churchill
   Village, L.L.C. v. General Electric, 361 F.3d 566, 574 n. 5 (9th Cir. 2004); Abraham v. Volkswagen
   of Am., Inc., 795 F.2d 238, 246 (2d Cir. 1986); Boelens v. Redman Homes, Inc., 748 F.2d 1058,
   1067 n. 13 (5th Cir. 1984); Da Air Taxi LLC v. Diamond Aircraft Indus., No. 09-60157-CIV-
   UNGARO, 2009 U.S. Dist. LEXIS 139017, at *7 (S.D. Fla. Nov. 4, 2009). Here, there are only
   three named plaintiffs, so a Magnuson-Moss class cannot be certified.
          Plaintiffs might respond by stating that the Court should read the Class Action Fairness
   Act (“CAFA”) as overriding the MMWA’s 100-named-plaintiff requirement. However, the Court
   should decline to do so. The Ninth Circuit Court of Appeals is the only circuit court to directly
   address this issue, holding that “CAFA does not demonstrate any intent by Congress to repeal or
   alter parts of the MMWA’s jurisdictional requirements.” Floyd v. Am. Honda Motor Co., 966 F.3d
   1027, 1035 (9th Cir. 2020). And, while the Eleventh Circuit has not addressed the issue, this Court
   has, holding that CAFA does not supplant the MMWA’s 100-named-plaintiff requirement. Lewis
   v. Mercedes-Benz United States, 530 F. Supp. 3d 1183 (S.D. Fla. 2021); 4 see also, Jackson v.
   Anheuser-Busch Inbev SA/NV, LLC, No. 20-cv-23392, 2021 U.S. Dist. LEXIS 155556, at *50
   (S.D. Fla. Aug. 18, 2021).
              C. THE PUTATIVE CLASS IS NOT ASCERTAINABLE


   4
    Lewis is particularly on point as it addresses an AHR installed in Mercedes vehicles and was filed
   by the same Plaintiffs’ counsel as this case.
                                                     12
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          The proposed class is made up predominantly of putative members who have never
   experienced the alleged defective condition, an AHR deployment, including all of the named
   plaintiffs. Only a small minority of the putative class members have actually had their AHRs
   inadvertently deploy. As such, Plaintiffs’ proposed class is unascertainable, and class certification
   must be denied. See, e.g., Simmons, 2022 U.S. Dist. LEXIS 49975, at *33 (denying class
   certification when Plaintiffs’ putative class contained a majority of vehicle owners who never
   experienced the defect condition).
          As an initial matter, “courts have been particularly reluctant” to certify “classes that include
   both class members whose product has manifested the deficiency and those whose product has
   performed satisfactorily.” Harris v. Nortek Glob. HVAC LLC, No. 14-21884, 2016 U.S. Dist.
   LEXIS 18795, at *5 (S.D. Fla. Jan. 29, 2016).




          A “ class should not be certified if it is apparent that it contains a great many persons who
   have suffered no injury at the hands of the defendant.” Cordoba v. DirecTV, LLC, 942 F.3d 1259,
   1276 (11th Cir. 2019). And, in Ohio State Troopers Assn’ v. Point Blank Enters.—which involved
   purportedly defective bulletproof vests—this Court explained that class certification was improper
   when a proposed class “[was] overbroad because it included all individuals who purchased …
   vests, including vests that are not defective.” 347 F. Supp. 3d at 1232 n. 12 (emphasis added).
   Many other decisions agree. See, e.g., Harris v. Nortek Global HVAC LLC, Case No. 14-civ-
   21884, 2016 U.S. Dist. LEXIS 18795 at *21 (S.D. Fl. Jan. 29, 2016) (denying class certification
   where proposed class definition included “class members who have experienced the deficiency
   and those who have not”); Breakstone v. Caterpillar, Inc., No. 09-23324, 2010 U.S. Dist. LEXIS
   142220, at *16 (S.D. Fla. May 26, 2010) (denying class certification because “it is inappropriate
   to certify a class containing both individuals who have manifested a deficiency and those whose
   product has performed satisfactorily”) (internal citation and quotation marks omitted); see also

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   Melton v. Century Arms, Inc., No. 16-21008, 2018 U.S. Dist. LEXIS 203026, at *16 (S.D. Fla.
   Nov. 28, 2018) (recommending denial of class certification where “the record evidence fail[ed] to
   support Plaintiffs' contention that the Class Weapons all exhibit the Class Defect”); Kia Motors
   Am. Corp. v. Butler, 985 So. 2d 1133, 1139 (Fla. 3d DCA 2008) (reversing class certification in
   FDUTPA and breach of warranty action where “the class representative . . . [sought] compensation
   not only for class members whose brakes have manifested a deficiency, but also for those whose
   brakes have performed satisfactorily,” explaining that “[i]n certifying the class, the trial court
   deviated from the majority of jurisdictions, which consistently have denied class recovery on the
   type of theory the class representative presses in this case”).




          This Court should follow Simmons and Ohio State Troopers and deny certification on the
   basis that Plaintiffs have failed to establish that their proposed classes are clearly ascertainable.
              D. INDIVIDUAL ISSUES PREDOMINATE ON ALL OF PLAINTIFFS’
                  CLAIMS.
          Under Rule 23(a), Plaintiffs must prove that there are questions of law or fact common to
   the class. Plaintiffs have not identified even one such question of law or fact. But “[e]ven if Rule
   23(a)’s commonality requirement may be satisfied . . . the predominance criterion [of Rule
   23(b)(3)] is far more demanding.” Amchem Prods. v. Windsor, 521 U.S. 591, 623-24 (1997).
   Indeed, “[f]ailure to satisfy the predominance requirement, especially in automotive defect cases,
   has often been the reason courts have denied class certification.” Martin v. Ford Motor Co., 292

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   F.R.D. 252, 271 (E.D. Pa. 2013). As demonstrated below, Plaintiffs cannot meet the more
   demanding predominance requirement of Rule 23(b)(3).
                          i. Plaintiffs Have Not Established That State Laws Are Uniform.

          Plaintiffs seeking to represent multi-state classes must show that the applicable laws are
   sufficiently similar to allow for classwide resolution. Sacred Heart Health Sys. v. Humana Military
   Healthcare Servs., 601 F.3d 1159, 1180 (11th Cir. 2010). But Plaintiffs’ approach here—“merely
   recit[ing] the elements of [Plaintiffs’] claims … without an analysis of how those elements are
   interpreted or analyzed by the various states”—has been “rejected by courts as overstating the
   similarities of various state laws.” Andersen v. Atl. Recording Corp., 2010 U.S. Dist. LEXIS
   44168, at *24 (D. Or. May 4, 2010). And as highlighted below, there are significant differences in
   the applicable state laws for which Plaintiffs make no attempt to account.
                          ii. Whether the Subject Vehicles Are “Defective” Is Not a Common
                             Issue.

          Underlying all of Plaintiffs’ claims in this case is the question of “whether the AHRs in
   certain Chrysler model vehicles were defective … .” Pls.’ Motion, at 19. Plaintiffs claim that the
   AHR systems are all defective because the plastic sleds used in all AHRs are insufficiently robust.
   But, there is no evidence to support this conclusion.




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          Plaintiffs also ignore that an increasing number of putative class vehicles went their whole
   service life without an inadvertent AHR deployment. Per FCA US’s design specifications, the
   AHR was designed to have a service life of “10 year and/or 150,000 miles.” Ex. Z, FCA US AHR
   Performance Standard PF 11-666. Based on this standard, every vehicle built before June 5, 2012,
   has reached the end of its AHR’s service life. Each owner of one these vehicles who did not
   experience an inadvertent AHR deployment lacks a viable claim against FCA US, as the owners
   did not incur personal injury or property damage. See Ohio State Troopers, 481 F. Supp. 3d at
   1275. The same is true of individuals whose vehicles were built after June 5, 2012, but have
   reached 150,000 miles without an inadvertent AHR deployment. Id. Thus, individual inquiries will
   need to be made into each class member’s vehicle’s build date, the vehicle’s milage, and whether
   an AHR deployed to determine whether the class member obtained the benefit of the bargain.
                         iii. Whether FCA US Had Knowledge is Not a Common Issue.
          Plaintiffs assert that FCA’s knowledge of the alleged defect in the AHRs is susceptible to
   common proof. Plaintiffs need to prove that FCA US had knowledge of an AHR defect to prove
   their FDUTPA claims and to prove their false advertising claim under New York law. The role

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   FCA US’s purported knowledge plays in each cause of action differs in Florida and New York.




          Given these and other individual issues, the question of FCA US’s knowledge is not
   common. See, e.g., In re MyFord Touch Consumer Litig., 2018 U.S. Dist. LEXIS 129261, at *10
   (N.D. Cal. Aug. 1, 2018); In re Baycol Prods. Litig., 218 F.R.D. 197, 208 (D. Minn. 2003); In re

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   personal injury.




                        v. Materiality, Deception, And Actual Injury Are Individual Issues


   5
    HIC is a standard metric based on decades of research that is commonly used by the federal
   government to assess the potential for head injuries. Ex. W, 2/7/2019 Jonik Dep. at 98:21-24. A
   HIC score of 1000 represents the “safe” limit of human tolerance.
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                              Under New York Law.

          To prevail in a cause of action under N.Y. General Business Law § 350, plaintiffs must
   allege that a defendant’s advertisement “(1) had an impact on consumers at large, (2) was deceptive
   or misleading in a material way, and (3) resulted in injury.” Koch v. Greenberg, 14 F. Supp. 3d
   247, 261 (S.D.N.Y. 2014). Furthermore, the false advertising plaintiff “must further demonstrate
   proof of actual reliance.” Merck Eprova AG v. BrookStone Pharm., LLC, 920 F. Supp. 2d 404,
   425 (S.D.N.Y. 2013). “Typically [this] means he must point to a specific advertisement or public
   pronouncement upon which the consumer relied. Sabatano v. Iovate Health Scis. U.S.A. Inc., No.
   19 CV 8924 (VB), 2020 U.S. Dist. LEXIS 109265, at *6-7 (S.D.N.Y. June 22, 2020).
          Materiality. Materiality depends upon the probability that oil contamination occurred and
   will cause an inadvertent deployment, and that probability varies by model, model year, and date
   of production. As an initial matter, courts have recognized that all products may fail, and a low
   failure rate, alone, is not material. See Carlson v. Gillette Co., Civil Action No. 14-14201-FDS,
   2015 U.S. Dist. LEXIS 144559, at *21 (D. Mass. Oct. 23, 2015) (“The fact that some small
   percentage of the products may fail, without more, is not a fact that is likely to influence an
   objectively reasonable customer; all products fail to at least some small degree.”). This is
   especially true in the automotive context. Vehicles are “complex instrumentalities,” and defects or
   other problems that require maintenance or replacement of parts can be expected to arise.
   Thiedemann v. Mercedes-Benz USA, LLC, 872 A.2d 783, 789 (N.J. 2005). Consistent with this
   fact, courts have held that incidence rates at or below 1% are not material, as a matter of law. Coba
   v. Ford Motor Co., 932 F.3d 114, 126 (3rd Cir. 2019) ( holding “no reasonable factfinder could
   conclude” that a 1% or less incidence rate based on replacement parts data “would be material to
   a reasonable consumer prospectively deciding … whether to purchase a … truck”).




                                                                                Therefore, the issue of
   materiality is not common.
          Deception. As discussed above, there is ample reason to believe that a significant number
   of class members were exposed to information, including televised news segments, concerning

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   AHR deployment and purchased their vehicles anyway. See e.g., Nuwer Dep., 58:21-59:16.
   Where, as here, the “circumstances” of class members vary with respect to whether they
   “possessed or could reasonably have obtained the relevant information they now claim the
   [defendant] failed to provide,” “whether a reasonable consumer in plaintiffs’ circumstances might
   have been misled” is not a common question. Oswego Laborers’ Local 214 Pension Fund v.
   Marine Midland Bank, N.A., 85 N.Y.2d 20, 27 (N.Y. 1995).
          Actual injury. Plaintiffs have proposed no class-wide method of proving an “actual injury”
   under GBL § 350. Where, as here, the alleged injury arises from nondisclosure of a defect claimed
   to make a product “prone” to failure, “actual injury” can be established through manifestation of
   the defect (which cannot be proven on a class-wide basis), but it cannot be established through
   claims of economic injuries attributable to the product’s failure to meet customer expectations.
   See, e.g., Marshall v. Hyundai Motor Am., 334 F.R.D. 36, 57 (S.D.N.Y. 2019); Frank v.
   DaimlerChrysler Corp., 292 A.D.2d 118 (App. Div. 2002).
          In Frank, the court rejected claims brought on behalf of a putative class of vehicle
   purchasers who claimed their vehicles’ seatbacks suffered from a defect that rendered them unsafe
   in a collision. 292 A.D.2d at 120. They did not claim their vehicles suffered any actual malfunction
   caused by the defect, but—like Plaintiffs here—alleged they “‘suffered economic loss’ in that the
   Class Vehicles and seats did not meet reasonable consumer expectations,” and—like here—sought
   “compensatory damages ‘measured by the cost of correcting the Defect.’” Id. The court affirmed
   the lower court’s dismissal of the plaintiffs’ claims because they failed to plead any actual injury:
          [I]t would be manifestly unfair to require a manufacturer to become, in essence, an
          indemnifier for a loss that may never occur. Plaintiffs’ argument, basically, is that
          as an accident becomes foreseeably possible … the manufacturer must retrofit the
          product or otherwise make the consumer whole. However, under such a schematic,
          as soon as it can be demonstrated, or alleged, that a better design exists, a suit can
          be brought to force the manufacturer to upgrade the product or pay an amount to
          every purchaser equal to the alteration cost. Such “no injury” or “peace of mind”
          actions … would increase the cost of manufacturing, and therefore the price of
          everyday goods to compensate those consumers who claim to have a better design,
          or a fear certain products might fail.
   Frank, 292 A.D.2d at 127; see also In re GM LLC Ignition Switch Litig., 257 F. Supp. 3d 372,




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   429-431 (S.D.N.Y. 2017). 6 Furthermore, this Court’s analysis of Frank at the 12(b)(6) stage of
   litigation should not govern at the class certification stage. As this Court held, “Plaintiffs will be
   required to prove actual economic injury to recover under New York Law.” Nuwer v. FCA US Ltd.
   Liab. Co., 552 F. Supp. 3d 1344, 1358 (S.D. Fla. 2021). But, this will require individual inquiry.
   Because Plaintiffs’ NY GBL § 350 claim based on alleged concealment of a defect that makes the
   vehicles “susceptible” to AHR deployment requires individualized proof of manifestation—or
   some injury other than alleged economic injury attributable to the vehicles’ failure to meet
   Plaintiffs’ expectations—this claim cannot be certified for class-wide treatment.
                          vi. Materiality,     Actual     Deception,     And     The    Likelihood      Of
                                  Deception Are Individual Issues Under Florida Law.

          “[A] claim for damages under FDUTPA has three elements: (1) a deceptive act or unfair
   practice; (2) causation; and (3) actual damages.” Kia Motors Am. Corp. v. Butler, 985 So. 2d 1133,
   1140 (Dist. Ct. App. 2008). A deceptive practice under the FDUTPA is a “material representation
   or omission that is likely to mislead the consumers acting reasonably under the circumstances.”
   Burrows v. Purchasing Power, LLC, 2012 U.S. Dist. LEXIS 186556, at *18 (S.D. Fla. Oct. 18,
   2012) (emphasis added). Therefore, as in New York, where the “circumstances” of class members
   vary with respect to whether they possessed or reasonably could have obtained the relevant
   information, the question whether a reasonable consumer in plaintiffs’ circumstances was likely
   to be misled is not common. See, e.g., Kia Motors, 985 So. 2d at 1140; Pop’s Pancakes, Inc. v.
   NuCO2, Inc., 251 F.R.D. 677, 685-86 (S.D. Fla. 2008); In re Ford Motor Co. E-350 Van Prods.
   Liab. Litig., 2012 U.S. Dist. LEXIS 13887, at *110-11 (D.N.J Feb. 6, 2012); Egwuatu v. South
   Lubes, Inc., 976 So. 2d 50, 53-54 (Fla. Dist. Ct. App. 2008). In fact, “[t]he mere possibility some
   customers in certain situations and in possession of certain information could have reasonably
   understood [the potential for AHR deployment] undercuts Plaintiff’s theory from a class-
   certification perspective.” Deere Constr. V. Cemex Constr. Materials Florida, LLC, 2016 U.S.
   Dist. LEXIS 193561, at *12 (S.D. Fla. Dec. 1, 2016). Here, numerous class members possessed


   6
     New York state courts have distinguished “tendency to fail” cases like the instant case, which
   are governed by Frank, from breach of contract cases involving products that do not meet
   specifications and do not rely on a risk of failure to establish their allegations. Ignition Switch, 257
   F. Supp. 3d at 430. Also distinguishable for the same reason are cases based on affirmative
   misrepresentations about products. See, e.g., Ebin v. Kangadis Food Inc., 297 F.R.D. 561
   (S.D.N.Y. 2014).
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   information relating to AHR deployment that was contained in both a televised news segment and
   published news article. Therefore, there is clear proof that all Florida class members are not
   similarly situated, and an FDUTPA class cannot be certified.
           Finally, materiality is not a common issue in Florida for the same reasons discussed above:
   the 10-year failure rate varies widely based on vehicle model and model year.
                          vii. Individual Issues Predominate On Plaintiffs’ Unjust Enrichment
                              Claims.

           Plaintiffs seek class certification of their unjust enrichment claim without acknowledging
   Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1274 (11th Cir. 2009), which held that “common
   questions will rarely, if ever, predominate an unjust enrichment claim, the resolution of which
   turns on individualized facts.”
           Plaintiffs’ analysis as to how the various states interpret the elements of this claim is
   contained in Exhibit DDD to their Motion. As an initial matter, this Court should decline to
   consider this Exhibit. Plaintiffs were granted leave to file excess pages (Dkt. 83), and their Exhibit
   DDD—including its citation to case law—is an impermissible end-run around this Court’s page
   limits. See, e.g., In re FCA US LLC Monostable Elec. Gearshift Litig., No. 16-MDL-02744, Dkt.
   325 (E.D. Mich. March 7, 2019) (“[T]he so-called ‘appendices’ here are nothing more than a 60-
   page running footnote to the plaintiffs’ brief, which they have employed as an artifice grossly to
   inflate the pages consumed by their briefing, far beyond the allowance for excess pages that the
   Court granted with regard to the motion for class certification.”).
           Moreover, Plaintiffs’ assertion that “common issues clearly predominate over individual
   ones” ignores that the individualized inquiries go beyond the defendant’s conduct. Vega, 564 F.3d
   at 1274 (“before it can grant relief on this equitable claim, a court must examine the particular
   circumstances of an individual case and assure itself that, without a remedy, inequity would result
   or persist.”).
           While most states require that there be a benefit to the defendant, in some the benefit can
   be conferred through indirect contact with the manufacturer through a retailer. But Plaintiffs have
   made no attempt to address the individual inquiry required to determine whether class members
   bought their vehicle new or used, whether FCA US reaped a benefit from the transaction, and if
   so, how the amount of that benefit can be determined on a class-wide basis from common evidence.
   See, e.g., In re Ford Motor Co. E-350 Van Prods. Liab. Litig., 2010 U.S. Dist. LEXIS 68241, at

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   *50-55, *70-75, *95-99, *130-36, *153-55, *232-33 (rejecting unjust enrichment claim under
   California, Florida, Illinois, New Jersey, New York, and Pennsylvania law, absent evidence of
   relationship between the automobile dealer and automobile manufacturer); Daigle v. Ford Motor
   Co., 2012 U.S. Dist. LEXIS 106172, at *13 (D. Minn. July 31, 2012) (applying Florida law)
   (purchase of a used vehicle confers no benefit on automobile manufacturer).
          Further, Plaintiffs must also show that the benefit conferred on the defendant came at the
   plaintiffs’ expense, which requires consideration of what each class member paid, and what their
   specific vehicle was worth. See, e.g., In re Tropicana Orange Juice Mktg. & Sales Pracs. Litig.,
   2018 U.S. Dist. LEXIS 9797, at *14-15 (D.N.J. Jan. 22, 2018). Class members who did not pay
   more than their vehicles were worth have lost nothing. See id.; see also In re Ford Motor Co. E-
   350, 2010 U.S. Dist. LEXIS 68241, at *232-33.
          Next, Plaintiffs must establish that it would be unjust under the circumstances for FCA US
   to retain any benefit conferred by a class member. This necessarily depends on individual factors,
   including the vehicle purchased, whether the consumer knew or reasonably could have known the
   undisclosed material facts, whether they would have purchased their vehicles knowing those facts,
   whether the class members experienced an AHR deployment, and so on.
          The individualized nature of these inquiries defeats certification. See, e.g., Vega, 564 F.3d
   at 1274-75 (“[W]hether or not a given commission charge back was ‘unjust’ will depend on what
   each employee was told and understood about the commission structure and when and how
   commissions were ‘earned.’ Those class members who concede awareness . . . cannot claim
   injustice[.]”); accord, In re Ford Motor Co. E-350 Van Prod. Liab. Litig., 2012 U.S. Dist. LEXIS
   13887 at *107 (the “court would need to conduct separate inquiries into the equities of each class
   member’s consumer experience to resolve these claims”); Rollins Inc., v. Butland, 951 So. 2d 860
   (Fla. 2d DCA 2006) (denying certification of unjust enrichment claim because individual issues
   predominate); Ohio State Troopers Ass’n, Inc., 481 F. Supp. 3d at 1276 (refusing certification
   where proposed class included members whose products never manifested any defect).
                         viii.   Statutes of Limitations Raise More Individual Issues.

          “[A]ffirmative defenses are still relevant to the question of predominance” and “can defeat
   predominance in some circumstances.” Brown v. Electrolux Home Prods., 817 F.3d 1225, 1241
   (11th Cir. 2016). Here, the proposed classes include vehicles beginning with model year 2010, and



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   the statutes of limitations for the various claims in the various states range from 4 to 6 years. 7 This
   class action lawsuit was not filed until February 27, 2020. Thus, the claims of a significant number
   of class members are likely time-barred—unless the respective statutes of limitations were tolled
   by the discovery rule, the fraudulent concealment doctrine, or equitable estoppel. But not all the
   states recognize these doctrines, and even where recognized, the tests differ by state. And
   application of these tolling doctrines requires individual inquiry into what each class member knew
   or should have known about the facts giving rise to their claim, when each class member knew or
   should have known them, and what actions were taken by FCA US vis-a vis each class member. 8
   This myriad of individual issues will repeat itself again and again for each class member, weighing
   heavily against a finding of predominance. See, e.g., Jim Moore Ins. Agency, Inc. v. State Farm
   Mut. Auto. Ins. Co., 2003 U.S. Dist. LEXIS 25550 at *39-40 (S.D. Fla. May 6, 2003).




                          ix. Plaintiffs Have No Classwide Measure Of Damages.

                      a) Repair Cost Is Not A Proper Measure Of Damages For Plaintiffs’
                          Consumer Fraud Claims Based On Omission.

          “[U]nder Rule 23(b)(3), a plaintiff must also ‘establish that damages are susceptible of
   measurement across the entire class’ ….” Ohio State Troopers Ass’n, 481 F. Supp. 3d at 1271
   (quoting Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013)). “[A]t the class-certification stage (as
   at trial), any model supporting a plaintiff’s damages case must be consistent with its liability case
   ….” Comcast, 569 U.S. at 35 (internal citation omitted).




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     Fla.-FDUTPA and unjust enrichment: 4 years (§§ 95.11(3)(f) and k, Fla. Stat); N.Y.-GBL § 349:
   3 years (N.Y. C.P.L.R. 214); unjust enrichment: 6 years (N.Y. C.P.L.R. 213).
   8
     See, e.g., Fraudulent Concealment: Sloan v. Gen. Motors LLC, 2020 U.S. Dist. LEXIS 71982
   at *58 (N.D. Cal. Apr. 23, 2020); Mahoney v. Beacon City Sch. Dist., 988 F. Supp. 395, 400
   (S.D.N.Y. 1997); Equitable estoppel: Licul v. Volkswagen Grp. of Am., Inc., 2013 U.S. Dist.
   LEXIS 171627 at *16 (S.D. Fla. Dec. 5, 2013).
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          Florida. FDUTPA does not cover repair costs. See Ohio State Troopers Ass’n, 481 F. Supp.
   3d at 1284; see also Simmons, 2022 U.S. Dist. LEXIS 49975, at *36. Plaintiffs might claim that
   Stockton is only using repair costs as a measure for actual point-of-sale damages, but in Ohio State
   Troopers this Court held that “FDUTPA damages are measured according to the difference in the
   market value of the product or service in the condition in which it was delivered and its market
   value in the condition in which it should have been delivered . . .” Id. at 1283 (citations omitted).
   “Curiously,” as in Ohio State Troopers, “Plaintiffs’ damages expert … did not measure the market
   value,” either of the vehicle as promised or the vehicle as delivered. Id. at 1284.




          New York. As discussed above, controlling New York authority precludes a cost of repair
   award where an unmanifested defect is alleged to create a tendency to fail. Frank, 292 A.D.2d at
   120. In any event, repair costs are not a proxy for properly-calculated benefit of the bargain
   damages in cases where such damages are allowed. Maciel v. BMW of N. Am. LLC, 2021 U.S.
   Dist. LEXIS 34311, at *25-26 (E.D.N.Y. Feb. 23, 2021). Plaintiffs cite no decisions allowing
   repair cost recovery in New York under any theory, including benefit of the bargain.
                      b) Plaintiffs Have Proposed No Measure Of Restitution For Unjust
                          Enrichment, Let Alone A Classwide Measure.

          Plaintiffs do not explicitly argue that their cost of repair damages model suffices for both

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   their statutory claims and their unjust enrichment claims, but they do not propose any additional
   damages model. The remedy for unjust enrichment is restitution, which is intended to restore the
   parties to their position before the transaction, not to give either party the post-transaction benefit
   of their bargain. See generally Restatement (Third) Restitution and Unjust Enrichment, § 1.
   Plaintiffs cite no authority from any state that permits recovery of benefit of the bargain damages
   for unjust enrichment.
              E. PLAINTIFFS’ REQUEST FOR A 23(b)(2) INJUNCTIVE RELIEF CLASS
                  SHOULD BE DENIED.

          For their Rule (b)(2) class, Plaintiffs seeks injunctive relief in the form of an order
   “requir[ing] Chrysler to notify consumers of the defect and repair or replace its defective AHR
   systems.” Pls.’ Motion, at 26. The Court should deny this request.
          The FDUTPA provides for both injunctive or declaratory relief and monetary damages,
   which Plaintiffs seek. Fla. Stat. § 501.211(1)-(2). Here, Plaintiffs have claimed putative class
   members were harmed when they paid for allegedly defective automobiles, and have pursued
   monetary damages as the predominant form of relief. See, e.g., Harris v. Nortek Glob. HVAC
   LLC, No. 14-CIV-21884-BLOOM/Valle, 2016 U.S. Dist. LEXIS 18795 (S.D. Fla. Jan. 28, 2016)
   (finding monetary relief sought under FDUTPA is not “merely incidental” to injunctive relief when
   a plaintiff aims “to recover damages based upon the amount each individual class member paid
   for a defective product”). Thus, Plaintiffs’ request for an order forcing FCA US to notify
   consumers of a defect would simply “lay the ground work for these monetary damages.” Ohio
   State Troopers, 481 F. Supp. 3d at 1281 (denying certification of an injunctive relief class). This,
   of course, is improper. “[A]n action seeking a declaration concerning the defendant’s conduct that
   appears designed simply to lay the basis for a damage award rather than injunctive relief would
   not qualify under Rule 23(b)(2).” AA Suncoast Chiropractic Clinic, P.A. v. Progressive Am. Ins.
   Co., 938 F.3d 1170, 1179 (11th Cir. 2019).
          Moreover, certifying a class for the type of injunctive relief Plaintiffs seek would require
   FCA US to provide a remedy that some class members may already have (such as class members
   whose vehicles were built with or had replaced AHRs manufactured after the clean point), and
   would “undo the careful interplay between Rules 23(b)(2) and (b)(3).” McManus v. Fleetwood
   Enters., 320 F.3d 545, 553-54 (5th Cir. 2003). This is in part because “defendants would
   potentially be forced to pay what is effectively money damages, without the benefit of requiring

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      plaintiffs to meet the rigorous Rule 23(b)(3) requirements.” Id. at 554.
                Besides, a 23(b)(2) class must satisfy the requirements of Rule 23(a), including
      commonality and typicality. See Fed. R. Civ. P. 23(b)(2). As explained above, Plaintiffs have not
      satisfied any of those requirements.
                   F. THE EASTERN DISTRICT OF CALIFORNIA’S ALGER DECISION IS
                      DISTINGUISHABLE
                Plaintiffs spend a considerable amount of time discussing the class certification decision
      in Alger v. FCA US LLC, Case No. 18-cv-00360, pending in the United States District Court for
      the Eastern District of California. However, the Alger decision is distinguishable. As an initial
      matter, the court held no hearing before issuing the certification order; it simply ordered Plaintiff
      Shawn Alger’s counsel to draft an opinion granting class certification, and then entered that draft
      as a final order after making only minor revisions. See Alger Dkt. 74 (“Plaintiff's counsel is
      directed to file for the Court's review, a comprehensive proposed order as to the Motion to Certify
      Class 54 that is amenable to being filed on the public docket.”). Beyond its procedural
      irregularities, the decision is not helpful in this case because it is based on Ninth Circuit and
      California law. For example, Plaintiffs rely on Alger to support the proposition that “variations in
      manifestation are no bar to class certification.” Alger v. FCA US LLC, 334 F.R.D. 415, 424 (E.D.
      Cal. 2020). But, this quotation is supported by citation to Ninth Circuit case law, and is contrary
      to this Court’s prior decisions. See Ohio State Troopers, 347 F. Supp. 3d at 1232 n. 12; See also
      Simmons, 2022 U.S. Dist. LEXIS 49975, at *33. Therefore, this Court should decline to follow
   Alger opinion.
IV.      CONCLUSION

                All of these issues should, at the very least, create a significant doubt about whether class
      certification is proper, and that doubt requires that Plaintiffs’ motion for class certification be
      denied.


      Dated: June 5, 2022                             Respectfully submitted,

                                                      RUMBERGER, KIRK & CALDWELL

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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that, on June 5, 2022, a true and correct copy of the foregoing
   document was electronically filed with the Clerk of the Court using the CM/ECF system, which
   will send a notice of electronic filing to all counsel of record.

                                      By:    /s/ Michael R. Holt




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